“a

—_

 

   
  

 

 

 

 

 

 

 

 

Case 2:09jev-8254-GAF Fae Document 417 Filed eo 1of13 Pageé ID #239
_ 1) FELIPA R. RICHLAND, SBN 112458
RICHLAND & ASSOCIATES |
2 | $383 Wilshire Boulevard ne 0 Pi G! N A L
uite COURT
3|| Beverly Hills, CA 90211 CLERK U.S. DISTRICTS
323) 651-5951 - Telephone 7
4 323) 651-1088 - Facsimile MAR 2 g 004 : CLERK, US. DISTRICT count
5,}| Attorneys for Plaintiff, x
« 4\: GIANNI VERSACE, 8.p.A. WR 25 am
© Gea “|
WN CENTRAL DISTAICT OF G
Q _ 74 win BY OEE
ot ao | ne at UNITED ST TRICT COURT
5 u 8 oe _—
ci aa eae CENTRAL DISTRICT OF CALIFORNIA
CO 29 25
— = |lo- | WESTERN DIVISION
10 |-5
Hl “Gi VERSACE, S.p.A., a Foreign ) CASE NO.: CV 03-3254 SJO (RNBx)
Corporation,
12 FINAL JUDGMENT UPON
Plaintiff, CONSENT; PERMANENT
13 INJUNCTION; AND [PROPOSED]
-VS- ORDER THEREON WITH
14 RESPECT TO DEFENDANTS:
15 || MONIR M. AWADA, an_ Individual; 1. GINO CHAHINE
MOHAMED BEDIER , an Individual: ALI 2. NADER CHAHINE
16 || CHAHENE, an Individual: GINNO
CHAHINE, an Individual; MOHAMAD N.
17] CHAHINE, an Individual; NADER
CHAHINE, an Individual; MOUSSA
18 | DAANA, an Individual; AKIL EL REDA, an co
Individual; ALI KHALIL ELREDA, an Priority —-
19 | Individual; FIRAS MOHAMMAD FAKIH, Send >
~ an Individual; ALI YOUSSEF FARHAT, an Enter
20 || Individual; HASSAN MOHAMAD d
FARHAT, an Individual; MOHAMAD ALI Closee
21 FARHAT, an Individual: YOUSSEF M. JS-5/JS-6 —_——
~ || FARHAT, an Individual; ALI ADNAN $S-2/5S-3 nome
22 | GHACHAM, an_ Individual; BASSAM Scan Only
ADNAN GHACHAM, an __ Individual:
23 TAGRID ADNAN GHACHAM, an
Individual; ALI DAOUD GHACHAM, an
24} Individual; HUSSEIN DAOUD GHACHAM,
an Individual; MOHAMED GHACHAM, an
25 || Individual OSSAMA DAOUD GHACHAM,
an Individual; RAMONA GONZALEZ, an
26 | Individual, MAHMOUD H. HARB, an Complaint Filed: May 9, 2003
Individual; MAHA ASSAAD JOMAA, an
27 | Individual; MOUSSA MATAR, an Trial Date: 11/16/04
. Individual;’ ‘HUSSEIN MOURAD, an
RICHLAND &
ASSOCIATES 28
Oot Alte v DOC: G & N CHAHINE Final Judgment & Perm. Injunction
lof 8

 

 
 

Case re | Document 417 Filed Q3/25/04 6” 20f13 Pagé ID #:240

1 || Individual; SAMIR MOURAD, an Individual, _
YAMEL MOURAD, an Individual; YOUNG in
JIN PARK, an Individual, ABDEL NABI oe
SAAB, an Individual; ALEX SAAB, an ze
Individual; ALI HUSSEIN SAAB, an 4
Individual; ALY NAIM SAAB, an Individual; i
ELSA SAAB, an Individual; HASSAN
SAAB, an Individual; HUSSEIN YOUSSEF
SAAB, an Individual; AHMAD M. SAAB, an .
individual; TASHIN SAAB, an Individual; -
YOUSEF SAAB, an Individual; AHMED
KHALIL SALEH, an Individual; HUSSEIN
KHALIL SALEH, an _ Individual;
MAHMOUD KHALIL SALEH, an
Individual; ABBAS SALEH SALEH, an
Individual, ALI SALEH  SALEH, an
Individual; HASSAN SALEH SALEH, an
Individual; HUSSEIN SALEH SALEH, an
10 | Individual; NAJIBE SALEH SALEH, an
Individual; ABBAS MAHMOUD SALEH,
11 || an Individual; ALI SLEIMAN SALEH, an
Individual; HUSSEIN ALI SALEH, an
12} Individual; MIRIAM §S. SALEH, an
Individual; MUSTAPHA ALI SALEH, an
13} Individual; AHMAD SALIM, an Individual:
IKHLAS SALIM, an Individual; ANA
14|| MARTA SANDOVAL, an Individual; JOSE
G. SANDOVAL, an Individual; ALI M.
15] TEHFI, an Individual; KHALED TEHFE, an
Individual; NAZIH TEHFE, an Individual;
16} AMA CASUALS, INC., a California
Corporation; AWADA. BROS, INC., a
California Corporation; AWADA
BROTHERS, INC., a California Corporation;
18} THE BRAND NAME CONNECTION,
INC., a California Corporation; CENSO ‘
i9 | UNICO INC., a California Corporation;
DENIM PALACE, INC., a California
20 || Corporation; GHACHAM, INC.,a California
Corporation; HIP HOP CONNECTIONS,
211 INC., a California Corporation; JAVINCCI,
LLC., a California Limited_ Liability
22 || Corporation, LA BRAND NAME, INC., a
California Corporation; LIMITED
23 | CLOTHING, INC., a California Corporation;
LOS HERMANOS, INC., a California
24 | Corporation; MAS SPORTSWEAR, INC., a
California Corporation; MGM TRADING
25 || INC., a California Corporation, MIRAGE
CONNECTION, INC., a California
26 || Corporation; NUEVA. TIENDA, INC., a
California Corporation dba NUEVA:
27 | TIENDA; SAAB & SONS, CLOTHING,
INC., a California Corporation; SAAB
RICHIAND S28 || GROUP, INC., a California Corporation;

ATTORNEYS AT LAW
BEVERLY HILLS

& Ww to

oOo co ~~) GH tn

17

2 of 8

 

 
 

Case 2:09

RICHLAND &

ASSOCIATES
ATTORNEYS AT LAW

BEVERLY HILLS

mo Oo “JD HR we FSF WH WB

BR B&D Bo BR BRO ORD ORD ORD ORO
Co “SF DN Oe Ee Uw UNUM S| lUO SO aOR ea Ne

-
pee Document 417 Filed 03/25/04 @” 30f13 Page ID #:241

SPORT JEANS, INC., a California ;
Corporation; TRES HERMANOS INC,, a (i
California Corporation; and UNESCO a
JEANS, INC., a California Corporation aka ae
UNESCO, INC.,and DOE10, unknown f
business entity, Inclusive, te

Defendants.

 

Plaintiff, GIANNI VERSACE, S.p.A., a Foreign Corporation (“WERSACE”) and
Defendants GINO CHAHINE, an individual, dba Tres Portrillos, and NADER CHAHINE,
an individual, dba Tres Portrillos, stipulate and consent to the following Consent Judgment:

WHEREAS, the parties have agreed to the entry of the following findings of fact
and conclusions of law finally disposing of Counts V, VI and VII of the First Amended
Complaint asserted by VERSACE, it is hereby ordered, adjudged and decreed that:

WHEREAS, GINO CHAHINE and NADER CHAHINE adopted and began using
trademarks in the United States which infringe or otherwise violate VERSACE’ s registered
trademarks: GIANNI VERSACE, VJC , VERSACE and the MEDUSA designs (the
“VERSACE Trademarks”) as identified in VERSACE’s VERSACE’s Complaint/1st
Amended Complaint;

WHEREAS, GINO CHAHINE and NADER CHAHINE’s use of names and marks
which incorporate one or more of the VERSACE Trademarks is likely to cause confusion
as to source or origin;

WHEREAS, GINO CHAHINE and NADER CHAHINP’s, use of names and marks
which incorporate one or more of the VERSACE Trademarks, was with reckless disregard
to VERSACE’s nights for the purpose of trading on the good will and reputation of
VERSACE; | :

WHEREAS, GINO CHAHINE and NADER CHAHINE promoted and advertised
names and marks which incorporate one or more of the VERSACE Trademarks;

WHEREAS, GINO CHAHINE and NADER CHAHINE, sold and/or offered for sale

merchandise bearing names and marks which incorporate one or more of the VERSACE

DOc: G & N CHAHINE Final Judgment & Perm Injunction
3 of 8

 

 
 

Case 2:04

RICHLAND &

ASSOCIATES
ATTORNEYS AT LAW

BEVERLY HILLS

me Ww bh

Oo oOo ns BH wr

10
11
12
13
14
15
16
17
18
19
20
2]
22
23
24
25
26
27
28

 

pve oN Document 417 Filed 99129104 per 4of13 Pagé ID #:242

Trademarks; .

WHEREAS, based upon VERSACE’s good faith prior use of the VERSACE
Trademarks, VERSACE has superior and exclusive rights in and to the VERSACE
Trademarks in the United States and any confusingly similar names or marks; and”

WHEREAS, this Court has jurisdiction over the parties to this action and over the
subject matter hereof pursuant to 15 USC 1121(a) and 28 USC 1331, 1338(a) and (6), and
28 USC 1367,

IT IS ORDERED, ADJUDGED AND DECREED as follows:

l. Defendants GINO CHAHINE, an Individual, and NADER CHAHINE, an
Individual violated the Federal Lanham Act as alleged in Count V - TRADEMARK
INFRINGEMENT AND COUNTERFEITING (15USC § 1114(1)); the Federal Trademark Dilution
Act as alleged in Count VI - FALSE DESIGNATION OF ORIGIN (15USC §1125(a)); and Count VII -
TRADEMARK DILUTION (15USC § 1125(c)).

2. Defendants GINO CHAHINE and NADER CHAHINE, their parents,
subsidiaries, related entities, divisions, officers, owners, shareholders, employees, affiliates,
servants, representatives, agents, predecessors, assigns and successors in interest of any
kind, and all persons, firms, entities, or corporations under their direction and control or in
active concert or participation with them, are immediately and permanently enjoined
throughout the world from directly or indirectly infringing, counterfeiting, or diluting the
VERSACE Trademarks or any marks similar thereto, as identified in Exhibit | of the
Complaint/lst Amended Complaint and on Registry with the United States Patent &
Trademark Office, in any manner, including generally, but not limited to manufacturing,
importing, distributing, advertising, selling, and/or offering for sale any merchandise which
infringes said trademarks and specifically from:

(A) Imitating, copying or making unauthorized use of any or all of the
GIANNI VERSACE trademarks or trade dress;
(B) Importing, manufacturing, producing, possessing, distributing,

circulating, advertising, promoting, displaying, selling, and/or offering for sale, any non-

DOC: G & N CHAHINE Final Judgment & Perm. {njunction

4of8

 
 

Case 2:03

RICHLAND &
ASSOCIATES
ATTORNEYS AT LAW
BEVERLY HILLS

bo

Co Co ~ DR A Se W

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

oman | Document 417 Filed eo 5o0f 13 Page ID #243

genuine product bearing any simulation, reproduction, counterfeit, copy, or colorable

bast
imitation or reproduces, or utilizes the likenesses of or which copy or are likely to:cause

se
=

()

consumer confusion with any of the VERSACE trademarks or trade dress;

(C) Manufacturing, distributing, selling or offering for sale or in connection
thereto any unauthorized promotional materials, labels, packaging or containers which
picture, reproduce or utilize the likenesses of, or which are likely to cause consumer
confusion with any of the VERSACE trademarks;

(D) Using any false designation of origin, false description, including words,
symbols or any trademark, trade name, trade dress, logo or design tending to falsely
describe or represent, or is likely to confuse, mislead, or deceive purchasers, Defendants’
customers, or members of the public, that unauthorized merchandise manufactured,
distributed, advertised, sold and/or offered for sale by Defendants originate from
VERSACE, or that said merchandise has been sponsored, authorized, endorsed, approved,
licensed by, associated, or is in any way connected or affiliated with VERSACE; ,

(E) Transferring, consigning, selling, shipping or otherwise moving any non-
genuine VERSACE goods, packaging or other materials in the Defendants’ possession,
custody or control bearing a design, or mark substantially identical to or confusingly similar
with or any or all of the GIANNI VERSACE trademarks or trade dress;

(F) Diluting and infringing the VERSACE trademarks and damaging
VERSACE's goodwill, reputation and businesses;

(G) Otherwise unfairly competing with GIANNI VERSACE, S.p.A., or its
subsidiaries or affiliated companies.

(H) Passing off or selling any products which are not entirely genuine VERSACE
products as and for VERSACE products, including products utilizing VERSACE labels, packaging
or containers that have been in any way modified without the written permission of VERSACE;

(1) Applying to the United States Patent & Trademark Office for the registration of
any trademark that is a colorable imitation of any or all of the GIANNI VERSACE trademarks, or

confusingly similar mark, trade name, trade dress, logos or design;

DOC: G & N CHAHINE Final Judgment & Perm. Injunction

5 of 8

 
 

Case 2:03

RICKLAND &
ASSOCIATES
ATTORNEYS AT LAW
BEVERLY HILLS

Oo CO J BWA Ww & WwW Pe —

hm bo bo BO BD BRD ORD OR ORO eee eee asa
CO ~~) GR or S&S. Ww KH KF OS He CO HS HR ww FSF WY NN —- S&S

ann | Document 417 Filed 92/29104 re’ 60f13 Page ID #:244

(J) Instructing, assisting, inducing, aiding or abetting any other person or
business entity in engaging in or performing any of the activities referred to above; and

(K) Using the VERSACE trademarks or any such reproduction, counterfeit, :
copy, or colorable imitation in connection with the manufacture, importation, distribution,
advertising, publicity, sale and/or offering for sale, of any other merchandise not referred
to above.

3. The jurisdiction of this Court is retained for the purpose of making any
further orders necessary or proper for the construction or modification of, the Settlement
Agreement, this Judgment, the enforcement thereof and the punishment of any violations
thereof. |

4. Any party shall have the right to seek sanctions for contempt, compensatory
damages, injunctive relief, attorneys’ fees, costs, and such other relief deemed proper in the
event of a violation or failure to comply with any of the provisions hereof. The prevailing
party in any such proceeding shall be entitled to recover its attorneys’ fees and costs.

5. Judgment is rendered in favor of VERSACE and against GINO CHAHINE
and NADER CHAHIN E as to Count V- TRADEMARK INFRINGEMENT AND COUNTERFEITING
(15USC § 1114(1)); Count VI - FALSE DESIGNATION OF ORIGIN (15USC §1125(a)); and Count VII -
TRADEMARK DILUTION (15USC § 1125(c)), subject to the terms of the Settlement Agreement
between the parties. This Consent Judgment shall be conclusive for purposes of collateral
estoppel regarding all issues that have been or could have been brought on the same
operative facts.

6. All remaining causes of action as between VERSACE and GINO CHAHINE
and NADER CHAHINE are hereby dismissed with prejudice, subject to the terms of the
Settlement Agreement between the parties.

7, The parties respective attorney’s fees and costs incurred in connection with
this action shall be borne as per the agreement of the individual parties in their Settlement

Agreement.

DOC: G & N CHAHINE Final Judgment & Perm. injunction

60f 8

 

 
 

Case 2:02

RICHLAND &

ASSOCIATES
ATTORNEYS AT LAW

BEVERLY HILLS

AB O&O

Oo CO ~P S

10
I
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

re 4OS Document 417 Filed 92/2004 ee’ 7of13 Pagé ID #:245

8. This Court will retain continuing jurisdiction over this cause to enforce the
me

ant

terms of this Consent Judgment and the Settlement Agreement between the parties!

9. All counterfeit and infringing VERSACE products seized by VERSACE and
any currently in the possession, custody or control of GINO CHAHINE and NADER
CHAHINE shall be destroyed under the direction of VERSACE.

10. All counterfeit and infringing VERSACE products currently in the
possession, custody or control of GINO CHAHINE and NADER CHAHINE shall be
surrendered to VERSACE and thereafter shall be destroyed under the direction of
VERSACE.

11. This Judgment shall be deemed to have been served upon Defendants at the

time of its execution by the Court.

IT IS SO ORDERED.

DATED: 3/. ac /- 2004.

 

Sor

UNITED STATES DISTRICT JUDGE

DOC: G & N CHAHINE Final Judgment & Perm. Injunction
7 of 8

 

 
 

Case aa | Document 417 Filed 08/29/04 per 80f13 Pagé ID #:246

APPROVED AS TO FORM.

—_—

no
fad

te

DATED: March | , 2004 RICHLAND & ASSOCIATES “1

 

FELIPA R. RICHLAND C0
, ATTORNEYS FOR PLAINTIFF,
GIANNI VERSACE, S.p.A.

wo Oo ~SY BD A FSF WH HY

DATED: March j 2004 WYMAN & ISAACS LLP

— —_—
— So

‘

IRWNA ©. SMITE. ESO”
TORNEYS FOR GINO CHAHINE
d NADER CHAHINE

—
bo

By:

 

NM we NR WB YO & VY MR OE ES Se Ol Sel Sel Sell

RICHLAND &
ASSOCIATES

EER a ¥ DOC: G & N CHAHINE Final Judgment & Perm. Injunction

kK
oO

8 of 8

 

 
 

Cay

sa DN A FP WH Ww

10
Il
12
13
14
15
16

18
19
20
21
22
23
24
25
26
27
28

e OE OLLILASN“|D Document 417 Filed 03/25/04 @~ 9of13 Pagé ID #:2:

PROOF OF SERVICE
Versace v. Awada, et al. i
USDC Case 03-3254 SJO (RNBx)

COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California. I am over the age of
eighteen (18) and am not a party to the within action; my business address is 8383 Wilshire
Boulevard, Suite 708, Beverly Hills, CA 90211. -

On March 16, 2004, I served the foregoing document described as FinaL JupGMENT Upon
CONSENT; PERMANENT INJUNCTION; AND [PROPOSED] ORDER THEREON WITH RESPECT TO DEFENDANTS GINO
CHAHINE AND NADER CHAHINE on ail interested parties in this action, by placing a true copy thereof
enclosed in a sealed envelope addressed as indicated below:

f

SEE ATTACHED PROOF OF SERVICE LIST

EK = (By Mail) I caused such envelope with pre-paid postage thereon to be placed in the
United States mail at Los Angeles, California. I am “readily familiar" with the firm's practice of
collection and processing correspondence for mailing. Under that practice, it would be deposited
with the U.S. Postal Service on that same day with postage thereon fully prepaid at Los Angeles,
California in the ordinary course of business. | am aware that on motion of party served, service is
presumed invalid if the postal cancellation date or postage meter date is more than one day after date
of deposit for mailing indicated in this affidavit.

Xi (By Webpage Posting) I caused the above-referenced document to be uploaded to
www.Casehomepage.com on the business day indicated herein.

O (By Facsimile) I caused the above referenced document consisting of ____ pages to
be faxed to the numbers indicated above on this date at p.m. directed to the named
person(s) above. The facsimile machine I used complied with Rule 2003(3) and no error was
reported by the machine. Pursuant to Rule 2005(1), I caused the machine to print a record of the

transmissions, copies of which U are attached to this declaration / 0 will be presented in court at
the pertinent hearing upon request.

O (By Personal Service) On the above-referenced date, I personally hand delivered
such envelopes to the offices of the above attorneys for the interested parties in this action at the
addresses indicated above.

x (Federal) | am employed by a member of the Bar of this court, at whose direction
this service was made. I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on March 16, 2004, at Beverly Hills, California.
(

Abhirteg A Mibly,

SHIRLEY*S. ROBLES

 

STATE OF CALIFORNIA ) ‘
) Ss. hi

 
Case

b&b Ww ih

~I aH tA

10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

PROOF OF SERVICE LIST
VERSACE v. AWADA
USDC Case No.: CV 03-3254 SJO (RNBx)

Bruce C. Gridley, Esq.

BURKE, WILLIAMS & SORENSEN LLP
611 West 6" Street, Suite 2500

Los Angeles, CA 90017-3102

Tel.; (213) 236-0600 xt. 2833

Fax : (213) 236-2700

email: bgridley@bwslaw.com

Michael A. Lanphere, Esq.

TREDWAY, LUMSDAINE & DOYLE,LLP
1920 Main Street, Suite 1000

Irvine, CA 92614

Tel.: (949) 756-0684

Fax: (949) 756-0596

email: Mlanphere@tlidlaw.com

Michael Pollak, Esq.

Anna Birenbaum, Esq.

POLLAK, VIDA & FISHER

1800 Century Park East, Suite 400
Los Angeles, CA 90067

Tel.: (310) 551-3400

Fax: (310) 551-1036

email: mmp@pvandf.com

Bruce Fields, Esq.

HANEY, BUCHANAN & PATTERSON LLP
707 Wilshire Boulevard, Fifty-Third Floor
Los Angeles, CA 90017

Tel.: (213) 228-6500

Fax: (213) 228-6501

email: shaney@hbplaw.com

Jeffrey M. Cohon, Esq.

Kristina Keller, Esq.

COHON & POLLAK, LLP

11355 West Olympic Boulevard, Suite 300
Los Angeles, CA 90064

Tel.: (310) 231-4470

Fax : (310) 231-4610

email: jcohon(@cohonpollak.com

Jennifer T. Tseng, Esq.

TSENG & ASSOCIATES

25 West Rolling Oaks Drive, Suite 211
Thousand Oaks, CA 91361

Tel.: (805) 370-1622

Fax: (805) 370-162]

email: tsenglaw@lawyer.com

MONIR AWADA
TRES HERMANOS, INC.

ALI D. GHACHAM
HUSSEIN D. GHACHAM
OSSAMA D. GHACHAM
MOHAMED GHACHAM
GHACHAM, INC.

LIMITED CLOTHING, INC.

ALI SLEIMEN SALEH
MOUSSA MATAR
DENIM PALACE, INC,

HASSAN FARHAT

ABBAS M. SALEH
MUSTAPHA M. SALEH

HASSAN SAAB

2:03-cv-03254-GAF-RNB Document 417 Filed 03/25/04 Page 10o0f13 Page ID #:24

SL Py PETA To

8

 
 

Cas

. Ww bk

Oo CO ~~) Dw wr

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Allan E. Anderson, Esq.

Sean Flynn, Esq.

ROPERS, MAJESKI, KOHN & BENTLEY
515 South Flower Street, Suite 2100
Los Angeles, CA 90071

Tel.: (213) 312-2000

Fax.: (213} 312-2001

email: aanderson@ropers.com

Eric M. Schiffer, Esq.

WOLFE & WYMAN, LLP

5 Park Plaza, Suite 1100

Irvine, CA 92614-5979

Tel.: (949) 475-9200

Fax: (949) 475-9203

email: emschiffer@wolfewyman.com

Philip N. Alexander, Esq.

LAW OFFICES OF PHILIP N. ALEXANDER
433 North Camden Drive, Suite 600
Beverly Hiils, CA 90210

Tel.: (310) 288-1948

Fax: (310) 858-6489

email: alexanderpna@aol.com ~

George Chakmakis, Esq.
CHAKMAKIS & ASSOCIATES

301 North Canon Drive, Suite 223
Beverly Hills, CA 90210

Tel. (310) 550-1555

Fax: (310) 273-4107

email: yorgo@earthlink.net

John Gulino, Esq.

LAW OFFICE OF JOSEPH SHUFF
2107 North Broadway, Suite 301
Santa Ana, CA 92706

Tel: (714) 834-0175

Fax.: (714) 834-1869

email: shufflaw@ix.netcom.com

 

POEM AN” Document 417 Filed 03/25/04 6" 11 of 18 Page ID #:2:

MAHMOUD H. HARB

ALI FARHAT
YOUSSEF M. FARHAT
MAS SPORTSWEAR, INC.

ALIN. CHAHINE
MOHAMAD CHAHINE
[NADER CHAHINE] ??
MOUSSA DAANA

MAHA ASSAD JOMOAA
SAMIR MOURAD

AKIL EL REDA

HUSSEIN YOUSSEF SAAB
TASHIN SAAB

AHMED KHALIL SALEH
HUSSEIN KHALIL SALEH
MAHMOUD KHALIL SALEH
AHMAD SALIM

IKLAS SALIM

ALI M. TEHFE

KHALED TEHFE

NAZIH TEHFE

CENSO UNICO, INC.

MGM, INC.

MIRAGE CONNECTION, INC.

MOHAMED BDAIR

ALI NAIM SAAB
HASSAN SALEH SALEH
HUSSEIN SALEH SALEH
NAJIBE SALEH

NUEVA TIENDA, INC. .
UNESCO JEANS, INC.

ABDEL NABI SAAB

AHMAD SAAB

HUSSEIN SAAB

MOHAMAD SAAB

TASHIN SAAB

YOUSEF SAAB

SAAB & SONS CLOTHING, INC.
SAAB GROUP, INC.

SPORT JEANS, INC.

19

 
 

SY HA vA SP WY NL

Co

10
It
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Casd 705-6 8254S AFR Document 417 Filed 3/25/04 6" 12 of 13 Page ID #:2

a

Tel.: (562) 941-8899
Fax: (562) 684-4793

email: maliklaw@runbox.com

George Pacheco, Esq. RAMONA GONZALES
LAW OFFICE OF EDWARD A. ESQUEDA

1455 W. Beverly Boujevard

Montebello, CA 90640

Tel.: (323) 726-1082

Fax : (323) 724-9806-

email: gbplaw@charterintemmet.com

Roger S. Shafer, Esq. FIRAS MOHAMMAD FAKIH
LAW OFFICES OF ROGER 8. SHAFER

2722 East Florence Avenue

Huntington Park, CA 90255

Tel.: (323) 587-6278

Fax: (323) 581-5239

email: none

Yamel Mourad, Pro Se NADER CHAHINE, Pro Se
EL GRAN MAYOR 6614 Corona Avenue
1319-B Los Angeles Street Bell, CA 90201

Los Angeles, CA 90015 Tel.: (213) 712-4213

Tel.: (213) 748-1133 Fax: none

Fax.: (213) 748-9329 email: nhchahin@lasd.org

email: elgranmayor@aol.com

Hon. George P. Schiavelli (Ret.)

REED SMITH CROSBY HEAFEY LLP .
355 South Grand Avenue, Suite 2900

Los Angeles, CA 90071

Tel.: (213) 457-8016

Fax : (213) 457-8080

email: gschiavelli(@reedsmith.com

 

Robert A. Brown, Esq. ANA SANDOVAL

LAW OFFICES OF ROBERT A. BROWN JOSE SANDOVAL ce
1125 E. Broadway, Suitel 16 a
Glendale, CA 91205 oo
Tel./Fax: (323) 255-6261 ce
email: rabstb@adelphia.net a
Marc A. Karlin, Esq. ABBAS SALEH SALEH

KARLIN & KARLIN ALI KHALIL ELREDA

3701 Wilshire Boulevard, Suite 1035 HIP HOP CONNECTIONS, INC.

Los Angeles, CA 90010-2802

Tel.: (213) 365-1555

Fax: (213) 383-1166

email: karlinlaw@msn.com

Aftab Malik, Esq. MOHAMMAD FARHAT

MALIK LAW OFFICES HUSSEIN ALI SALEH

10440 Pioneer Boulevard, Suite 6-B MIRIAM 8. SALEH

Santa Fe Springs, CA 90670 LA BRAND NAME, INC.

YU

 

bO
 

Case

> ww bw

Oo oOo ~~ DH A

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Robert Levine, Esq.

HANGER, LEVINE & STEINBERG
21031 Ventura Boulevard, Suite 800
Woodland Hills, CA 91364-5612
Tel.: (818) 226-1222

Fax: (818) 226-1215

email: js@hlslaw.com

Janna O. Smith, Esq.

WYMAN & Isaacs LLP

8840 Wilshire Boulevard, Second Floor
Beverly Hills, CA 90211

Tel.: (310) 358-3221

Fax : (310) 358-3224

email: jsmith@wymanisaacs.com

Craig D. Aronson, Esq.
BERGER KAHN

2 Park Plaza, Suite 650
Irvine, CA 92614

Tel.: (949) 474-1880
Fax : (949) 474-7265

email: caronson@bergerkahn.com

 

ALEX SAAB
ELSA SAAB

GINNO CHAHINE
ASSAD JOMOAA
HUSSEIN MOURAD

ALI FARHAT

POS ev O8254-GAF-R Ny Document 417 Filed 03/25/04 ee” 13 of 13 Pagé ID #:251

i

 
